                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION


JOSE MORA,
                                         Case No. 2:22-cv-00890
             Plaintiff,

WISCONSIN DEPARTMENT OF
HEALTH SERVICES,

             Involuntary Plaintiff,

       v.

ALEX WICKETTS
and AUSTIN HANCOCK,

             Defendants.


                                 COMPLAINT


      NOW COMES Plaintiff Jose Mora, by his attorneys, THE SULTON LAW FIRM

LLC, by Attorney William F. Sulton, and files this lawsuit against Defendants Alex


Wicketts and Austin Hancock, City of Kenosha police officers.

                             I. INTRODUCTION

      1.    On August 5, 2019, City of Kenosha Police Officers Alex Wicketts and

Austin Hancock falsely accused Jose Mora of being gang member. Ofc. Wicketts

assaulted Mr. Mora, including with a taser. Ofc. Austin Hancock did nothing to

stop the assault. Despite knowing that they did not have probable cause to arrest

Mr. Mora for any criminal wrongdoing, the officers arrested and jailed Mr. Mora.


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The officers then caused false charges for disorderly conduct, obstructing an

officer, resisting an officer, and bail jumping to be issued. Video footage of event

has mysteriously disappeared—despite two copies having been made. A jury

rejected the officers’ false accounts and acquitted Mr. Mora of all charges. This

lawsuit seeks legal redress.

                               II. THE PARTIES

      A.    The Plaintiffs

      2.    Plaintiff Jose Mora (“Mr. Mora”) is resident of the City and County of

Kenosha, Wisconsin.

      3.    Involuntary Plaintiff Wisconsin Department of Health Services

(“DHS”) is a governmental agency, duly organized and existing under and by

virtue of the laws of the State of Wisconsin, with offices located at 1 West Wilson

Street, Room 651, Madison, WI 53707. On information and belief, DHS has paid

medical and related expenses on Mr. Mora’s behalf because of injuries caused by

the Defendants. DHS may have a subrogation interest herein with respect to its

payments pursuant to Wis. Stat. § 49.89 subject, however, to all limitations on the

exercise of that right imposed by federal and state law. By reason of any such

payments, DHS is hereby joined as an involuntary plaintiff.

      B.    The Defendants

      4.    Defendant Alex Wicketts (“Ofc. Wicketts”), at all times relevant to

Mr. Mora’s claims, was a police officer working for the City of Kenosha. Ofc.




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Wicketts, at all times relevant to Mr. Mora’s claims, was acting under color of law

and within the scope of his employment as a police officer.

      5.     Defendant Austin Hancock (“Ofc. Hancock”), at all times relevant to

Mr. Mora’s claims, was a police officer working for the City of Kenosha. Ofc.

Hancock, at all times relevant to Mr. Mora’s claims, was acting under color of law

and within the scope of his employment as a police officer.

                       III. JURISDICTION AND VENUE

      6.     The United States District Court for the Eastern District of

Wisconsin has jurisdiction under 28 U.S.C. § 1331 because Mr. Mora alleges

violations of the United States Constitution.

      7.     The United States District Court for the Eastern District of

Wisconsin also has jurisdiction under 28 U.S.C. § 1343(a)(3) because Mr. Mora

alleges that he was deprived of rights guaranteed by the United States

Constitution under color of State law.

      8.     The United States District Court for the Eastern District of

Wisconsin also has jurisdiction under 28 U.S.C. § 1343(a)(4) because Mr. Mora

seeks damages under an Act of Congress, namely 42 U.S.C. § 1983, providing for

the protection of his civil rights.

      9.     Venue in the United States District Court for the Eastern District of

Wisconsin is proper pursuant to 28 U.S.C. § 1391(b)(1) because the Defendants

resides in Eastern District of Wisconsin.




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        10.   Venue in the United States District Court for the Eastern District of

Wisconsin is also proper pursuant 28 U.S.C. § 1391(b)(2) because the events giving

rise to Mr. Mora’s claims occurred in the Eastern District of Wisconsin.

                                    IV. FACTS

        11.   On August 5, 2019, Mr. Mora drove to Moe Moe’s Food Market in the

City of Kenosha to pick up some groceries for his mother.

        12.   Ofc. Wicketts and Ofc. Hancock were driving an unmarked squad car.

The squad car was not equipped with a dash camera. The officers were not

wearing body worn cameras either.

        13.   The Food Market had surveillance cameras that captured the event.

        14.   The officers stopped behind Mr. Mora.

        15.   Ofc. Wicketts exited the squad car and started screaming at Mr.

Mora.

        16.   Ofc. Wicketts falsely accused Mr. Mora of being a gang member and

told him not to move.

        17.   Ofc. Wicketts then took out a taser and shot Mr. Mora, dragged Mr.

Mora out of his car, and handcuffed Mr. Mora.

        18.   Ofc. Hancock did nothing to stop the assault.

        19.   Ofc. Wicketts then shoved Mr. Mora into the back of the squad car

and drove him to the City of Kenosha Police Station.

        20.   On or about August 5, 2019, Ofc. Wicketts made a request for

criminal charges to the Office of the District Attorney for Kenosha County.


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         21.   Ofc. Wicketts made knowingly false statements in his request. Ofc.

Wicketts, supported by Ofc. Hancock, fabricated evidence and trumped-up

criminal charges against Mr. Mora to discredit Mr. Mora’s account and to

intimidate and dissuade Mr. Mora from complaining about Ofc. Wicketts and Ofc.

Hancock’s misconduct.

         22.   Mr. Mora was jailed until August 7, 2019.

         23.   When he was released from jail, Mr. Mora went to a hospital for

treatment.

         24.   Mr. Mora was diagnosed with muscular skeletal pain, chest pain,

back spasms, and lumbar radiculopathy.

         25.   Mr. Mora experienced extreme back pain and was bleeding from the

wounds caused by the taser barbs.

         26.   Ofc. Wicketts’ fabrications, supported by Ofc. Hancock, caused the

Office of the District Attorney to issue charges for disorderly conduct, obstructing

an officer, resisting an officer, and bail jumping.

         27.   On August 9, 2019, the Food Market’s owner (Mustafa Mustafa)

drove to the City of Kenosha Police Department and delivered video footage from

the Food Market’s surveillance cameras on a Zip storage drive.

         28.   City of Kenosha Police Officer Steven Winter collected the video

footage and made two copies.

         29.   Ofc. Winter deleted the contents of the Food Market’s Zip storage

drive.


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      30.      Ofc. Winter placed one copy of the video footage in an evidence locker

and the other with the Detective’s Bureau.

      31.      Despite multiple requests for the video and a motion to compel, the

copy in the evidence locker was destroyed.

      32.      Mr. Mora’s lawyer was provided with an incomplete copy of the video

footage from the Detective’s Bureau.

      33.      That copy omitted one minute and thirty-four seconds of video: i.e.,

the part of the video that shows Ofc. Wicketts and Ofc. Hancock’s misconduct.

      34.      Mr. Mora’s lawyer never received the missing part of the video

footage.

      35.      Despite not having the video footage, the Circuit Court for Kenosha

County held a trial on November 3, 2020.

      36.      Ofc. Wicketts and Ofc. Hancock lied during their testimony.

      37.      The jury was not fooled and returned verdicts of not guilty on all

counts.

      38.      Mr. Mora is a hardworking single father.

      39.      Mr. Mora is not a gang member.

      40.      Due to being jailed and the injuries he sustained, Mr. Mora lost his

job and was unemployed for a significant period.

                                  V. THE CLAIMS

      A.       The Claims Against Officer Wicketts

      41.      Mr. Mora incorporates here all other paragraphs in this complaint.


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           42.   Ofc. Wicketts acted contrary to the Fourth Amendment by stopping

Mr. Mora without reasonable suspicion of criminal wrongdoing.

           43.   Ofc. Wicketts acted contrary to the Fourth Amendment by arresting

Mr. Mora without probable cause of criminal wrongdoing.

           44.   Ofc. Wicketts acted contrary to the Fourth Amendment by using

unreasonable force against Mr. Mora.

           45.   Ofc. Wicketts acted contrary to the Fourth and/or Fourteenth

Amendment by fabricating evidence and trumping up criminal charges against

Mr. Mora for which Ofc. Wicketts knew there was no probable cause.

           46.   Ofc. Wicketts maliciously prosecuted Mr. Mora and abused process.

           47.   As a result of Ofc. Wicketts’ misconduct, Mr. Mora experienced

physical pain and suffering.

           48.   As a result of Ofc. Wicketts’ misconduct, Mr. Mora experienced

emotional pain, suffering, inconvenience, mental anguish, and loss of enjoyment

of life.

           49.   As a result of Ofc. Wicketts’ misconduct, Mr. Mora suffered lost wages

and benefits.

           B.    The Claims Against Officer Hancock

           50.   Mr. Mora incorporates here all other paragraphs in this complaint.

           51.   Ofc. Hancock acted contrary to the Fourth Amendment by stopping

Mr. Mora without reasonable suspicion of criminal wrongdoing.




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           52.   Ofc. Hancock acted contrary to the Fourth Amendment by arresting

Mr. Mora without probable cause of criminal wrongdoing.

           53.   Ofc. Hancock acted contrary to the Fourth Amendment by failing to

intervene when he observed obvious unreasonable force visited upon Mr. Mora by

Ofc. Wicketts.

           54.   Ofc. Hancock acted contrary to the Fourth and/or Fourteenth

Amendments by fabricating evidence and trumping up criminal charges against

Mr. Mora for which Ofc. Hancock knew there was no probable cause.

           55.   Ofc. Hancock maliciously prosecuted Mr. Mora and abused process.

           56.   As a result of Ofc. Hancock’s misconduct, Mr. Mora experienced

physical pain and suffering.

           57.   As a result of Ofc. Hancock’s misconduct, Mr. Mora experienced

emotional pain, suffering, inconvenience, mental anguish, and loss of enjoyment

of life.

           58.   As a result of Ofc. Hancock’s misconduct, Mr. Mora suffered lost

wages and benefits.

                             VI. RELIEF REQUESTED

           59.   Wherefore, Mr. Mora respectfully requests this Honorable Court

enter judgment for him and against the Defendants, jointly and severally, and

provide following relief:

                 a. An order awarding damages for physical pain and suffering in an

                   amount to be determined by a jury.


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           b. An order awarding damages for emotional pain, suffering,

                inconvenience, mental anguish, and loss of enjoyment of life in an

                amount to be determined by a jury.

           c. An order awarding damages for lost wages and benefits in an

                amount to be determined by a jury.

           d. An order awarding past and future medical bills and expenses.

           e. An order awarding punitive damages in an amount to be

                determined by a jury.

           f.   An order awarding attorney’s fees, expert’s fees, and other

                taxable costs and disbursements in an amount to be determined

                by the Court.

           g. An order for such further necessary and proper relief as

                determined by the Court, without limitation to pre- and post-

                judgment interest.

                                VII. Jury Demand

     60.   Mr. Mora hereby demands a trial by a jury on all issues of fact and

damages stated herein.




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Date: August 4, 2022.                    Respectfully submitted,

                                         /s/ William F. Sulton
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